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13

14                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
15                                  OAKLAND DIVISION
16
     SAN FRANCISCO AIDS FOUNDATION, et                     Case No. 4:25-cv-1824-JTS
17   al.;
                                                           DECLARATION OF TYLER
                                     Plaintiffs,           TERMEER, CHIEF EXECUTIVE
18
                                                           OFFICE OF THE SAN FRANCISCO
19          v.                                             AIDS FOUNDATION, IN SUPPORT
                                                           OF PLAINTIFF’S COMPLAINT AND
     DONALD J. TRUMP, in his official capacity as          MOTION FOR PRELIMINARY
20     President of the United States, et al.              INJUNCTION
21
                                     Defendants.
22

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                 DECLARATION OF TYLER TERMEER IN SUPPORT OF PLAINTIFFS’ COMPLAINT
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             I, Dr. Tyler TerMeer, hereby state as follows:
 1

 2           1. I am the Chief Executive Officer of San Francisco AIDS Foundation (“SFAF”), a

 3   nonprofit 501(c)(3) organization based in San Francisco, California. SFAF works to promote

 4   health, wellness, and social justice for communities affected by HIV through advocacy, education,
 5
     and direct services. I have served in this capacity since February 14, 2022.
 6
             2. I submit this Declaration in support of Plaintiffs’ Complaint and Motion for a
 7
     Preliminary Injunction, which seeks to prevent Defendant agencies and their leadership from
 8
     enforcing Executive Order No. 14168 “Defending Women From Gender Ideology Extremism and
 9

10   Restoring Biological Truth to the Federal Government” (“Gender Order”), issued January 20, 2025;

11   Executive Order No. 14151 “Ending Radical and Wasteful DEI Programs and Preferencing”
12   (“DEI-1 Order”), issued January 20, 2025; and Executive Order No. 14173 “Ending Illegal
13
     Discrimination and Restoring Merit-Based Opportunity” (“DEI-2 Order”), issued January 21,
14
     2025 (collectively, the “Executive Orders”), and related agency directives that seek to enforce
15
     illegal, ultra vires Presidential action.
16

17           3. At SFAF, our mission is to promote health, wellness, and social justice for communities

18   most impacted by HIV through sexual health and substance use services, advocacy, and

19   community partnerships. We envision a future where health justice is achieved for all people
20   living with or at risk for HIV, a future where race and gender identity is not a barrier to health and
21
     wellness, substance use is not stigmatized, HIV status does not determine quality of life, and HIV
22
     transmission is eliminated. Recent executive orders restricting DEI pro-grams, services for
23
     transgender people, and targeted support for communities of color directly threaten our ability to
24

25   achieve this vision.

26

27

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            4. Over the past four decades, SFAF has been at the forefront of the fight against HIV and
 1

 2   AIDS, providing free, comprehensive services to approximately 27,000 clients annually. These

 3   services include harm reduction, behavioral health care, sexual health, HIV prevention and care,

 4   and community engagement initiatives tailored to diverse populations. SFAF’s mission focuses
 5
     on preventing HIV, educating the public, advocating for impacted communities, and providing
 6
     compassionate care for individuals living with or at risk of HIV. As a Black, Indigenous and
 7
     People of Color, (“BIPOC”)-led organization, SFAF’s leadership team and board of directors
 8
     reflect its commitment to inclusion and equity, ensuring the foundation remains deeply connected
 9

10   to the communities it serves.

11          5. For Fiscal Year 2025–2026, SFAF is contracted to receive $2,275,557.00 in direct and
12   indirect funding. Of this amount, $641,625.00 is directly funded through agreements with CDC,
13
     and the balance of $1,633,952.00 is indirectly funded by a variety of federal agencies through
14
     subcontracts with state and local agencies.
15
            6. Below is a table detailing the relevant grants SFAF was contracted to receive, but will
16

17   not be received because of the Executive Orders:

18
                Funding              Grant name                 Amount            Period
19               source

20           Centers for      Comprehensive High-         $441,625 annually     2021–2026
             Disease          Impact HIV Prevention
21           Control          Projects National
             (“CDC”)          Center for HIV, Viral
22                            Hepatitis, STD, and TB
23                            Prevention

24           CDC              Enhancing STI and           $200,000 annually     2024–2028
                              Sexual Health Clinic
25                            Infrastructure (CDC -
                              PS-23-0011)
26

27

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            7. The “Comprehensive High-Impact HIV Prevention Projects National Center for HIV,
 1

 2   Viral Hepatitis, STD, and TB Prevention” grant supports a national model for HIV prevention,

 3   targeting communities most impacted by HIV, including Black, Indigenous, and People of Color;

 4   men who have sex with men; people who inject drugs; and transgender and non-binary individuals.
 5
     It enables SFAF to provide over 70,000 HIV and STI services to clients across the San Francisco
 6
     Bay Area, and expand testing efforts, biomedical interventions like PrEP and PEP, harm reduction
 7
     services, and telehealth options. It also supports strategic partnerships with organizations like
 8
     Building Healthy Online Communities (BHOC).
 9

10          8. The “Enhancing STI and Sexual Health Clinic Infrastructure” grant enables SFAF to

11   expand comprehensive sexual health services for populations most impacted by HIV and STIs at
12   Magnet, a no-cost sexual health clinic. It strengthens community engagement and clinical capacity
13
     by involving key populations in service planning through a community advisory board and various
14
     feedback mechanisms like surveys, listening sessions, and focus groups. This feedback informs a
15
     comprehensive community needs assessment, shaping an equitable and inclusive clinic-level plan.
16

17          9. Below is a table detailing the relevant grants SFAF was subcontracted to receive, but

18   will not be received because of the Executive Orders:

19
               Funding       Subcontracting         Grant name           Amount            Period
20              source          agency
21           National       University of        Staged Low          $133,440           7/1/2024–
             Institute of   California San       Barrier and                            6/30/2025
22           Health         Francisco            Mobile Care to
23           (“NIH”)        (“UCSF”)             Improve Retention
                                                 and Viral
24                                               Suppression in
                                                 Hard-to-Reach
25                                               Vulnerable People
                                                 Living with HIV
26

27

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             NIH            CDC Foundation      MPOX                $50,000.00        8/1/2024-
 1
                                                Resurgence                            3/31/2025
 2
             CDC            Heluna Health       Capacity Building   $2,400.00         12/05/2024-
 3                                              for High-Impact                       3/31/2025
                                                HIV Prevention
 4                                              (CBA)

 5           CDC            AIDS United         National Capacity   $17,500.00        9/1/2024-
                                                Building                              3/31/2025
 6                                              Assistance for
                                                Strengthening
 7
                                                HIV Syndemic
 8                                              Systems &
                                                Services
 9
             Behavioral Sierra Health           BHRSP Hear Us -     $250,000.00       12/1/2023-
10           Health                             Phase 2                               6/30/2025
             Recovery
11           Services
12           Program
             (“BHRSP”)
13           CDC        San Francisco           Overdose Data to    $809,745.00       9/1/2024-
                        Department of           Action Grant                          8/31/2025
14                      Health                  (CFDA 93.136)
                        (“SFDPH”)
15
             Centers for    SFDPH               Stonewall Project   $162,500.00       7/1/2024-
16
             Medicare                           Mental Health &                       6/30/2025
17           &                                  Substance Use
             Medicaid                           Disorder
18           Services
             (“CMS”)
19           NIH            UCSF                UCSF Bay Area       $66,500.00        2/1/2024-
                                                CAR                                   1/31/2025
20
             NIH            UCSF                HIV Obstructed      $27,710           5/1/2024-
21
                                                by Program                            4/30/2025
22                                              Epigenetics

23           NIH            UCSF                Doxy-PEP Impact     $52,822.00        7/18/2024-
                                                Study:                                6/30/2025
24

25
            10.      The Executive Orders would have a profound and damaging impact on all of
26

27   SFAF’s federally funded programs and services, which are critical in providing HIV prevention,

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     sexual health services, and harm reduction efforts to the most vulnerable populations, specifically
 1

 2   Black, Indigenous, and People of Color; transgender and nonbinary individuals; and men who have

 3   sex with men. These populations are disproportionately affected by HIV, and are also directly

 4   targeted by the restrictions in the Executive Orders, which place limitations on the ability to
 5
     provide the culturally competent, gender-affirming care that is necessary to effectively engage and
 6
     serve them.
 7
            11.      SFAF’s core HIV prevention efforts rely on federal funding to provide services
 8
     such as testing, treatment, PrEP, PEP, harm reduction, and telehealth to underserved communities.
 9

10   The Executive Orders’s restrictions on DEI programs, as outlined in the DEI-1 Order, would

11   severely limit SFAF’s capacity to deliver services tailored to the unique needs of marginalized
12   groups, including Black, Indigenous, and People of Color; transgender and nonbinary individuals;
13
     and men who have sex with men. These groups face multiple empirically documented health
14
     disparities and are in urgent need of programs that are culturally competent and responsive to their
15
     identities. Without a clear, inclusive approach, SFAF would find it difficult to provide the
16

17   affirming care these communities require, weakening our HIV prevention efforts and reducing

18   engagement in care.

19          12.      For example, the Comprehensive High-Impact HIV Prevention Projects grant
20   supports our work in the San Francisco Bay Area, including offering PrEP and PEP and engaging
21
     in biomedical interventions that are vital for Black, Indigenous, and People of Color, transgender
22
     and gender non-binary, and men who have sex with men. The Executive Orders’ emphasis on
23
     eliminating recognition of transgender identity and restricting community-specific interventions
24

25   would hinder our ability to address the social determinants of health, such as stigma, homelessness,

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     and substance use, that disproportionately affect these groups. This, in turn, would exacerbate
 1

 2   HIV prevalence within these communities.

 3          13.      SFAF also participates in indirectly funded programs, such as research studies and

 4   capacity-building initiatives. For example, our participation in the NIH study on low-barrier care
 5
     is essential in offering mobile HIV care and flexible services for individuals who struggle to access
 6
     traditional healthcare settings. The Executive Orders could directly impact this work by erasing
 7
     transgender identity and forcing us to no longer provide targeted gender-affirming care for
 8
     transgender and gender non-binary individuals, making it harder to implement mobile or drop-in
 9

10   care models for these communities. The MPOX Resurgence grant also targets gay, bisexual, and

11   other men who have sex with men, including transgender and gender non-binary individuals. The
12   restriction of DEI efforts and gender-affirming care could lead to decreased vaccine acceptance
13
     and access, reducing the effectiveness of this program and potentially increasing the spread of
14
     mpox among vulnerable groups.
15
            14.      Our work is deeply rooted in core values of justice, dignity, courage, leadership,
16

17   and excellence.    These values drive not only our services but also how we operate as an

18   organization. We strive for diversity, equity, and inclusion of communities most impacted by HIV

19   across all levels of our organization.     We are committed to recognizing, interrupting, and
20   addressing oppression. We believe that all people have dignity and the right to be respected; no
21
     one’s choices should be judged. The Executive Orders fundamentally conflict with these core
22
     values and our commitment to addressing systemic barriers to health.
23
            15.      Research consistently shows that representation in healthcare dramatically impacts
24

25   health outcomes. When healthcare providers reflect the communities they serve, patients report

26   greater satisfaction, increased trust, and better communication with their providers.           This

27

28                                                    6
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     representation leads to longer, more detailed patient visits, increased medication adherence, and
 1

 2   better health outcomes. For communities that have historically experienced discrimination in

 3   healthcare settings, seeing themselves reflected in their healthcare providers can be the difference

 4   between engaging in care or avoiding it altogether.
 5
            16.      This representation becomes even more critical in HIV prevention and care, where
 6
     trust and cultural competency are essential for reaching communities most impacted by the
 7
     epidemic.     Historical medical trauma, ongoing stigma, and systemic barriers make many
 8
     individuals hesitant to access HIV services. When our staff share lived experiences with our clients,
 9

10   whether as people of color, LGBT individuals, people who use drugs, or people living with HIV -

11   they bridge these gaps of trust and understanding. They navigate not just the medical aspects of
12   HIV care but the complex social and cultural contexts that influence health decisions.
13
            17.      For our most recent strategic plan, we established five strategic priorities that guide
14
     our work and resource allocation. First, we are expanding HIV, hepatitis C, and STI prevention
15
     and treatment services to ensure equitable access and utilization by People of Color. Second, we
16

17   are expanding substance use services, syringe access, and overdose prevention efforts. Third, we

18   are creating comprehensive health and wellness services for people over 50 living with HIV.

19   Fourth, we are strengthening organizational excellence with a focus on living our values, including
20   a deep commitment to racial justice. Fifth, we are responding to public health crises with race
21
     equity strategies. The Executive Orders’s restrictions fundamentally conflict with these priorities,
22
     particularly our commitment to ensuring equitable access to services for people of color and our
23
     organizational commitment to racial justice.
24

25          18.      In furtherance of these strategic goals, we have prioritized our internal Justice,

26   Equity, Diversity, Inclusion and Belonging (“JEDI(B)”) work because we understand that diverse,

27

28                                                     7
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     equitable and inclusive workplaces perform better. As a part of this effort, we collect and analyze
 1

 2   staff and board census data to understand our organizational demographics and guide improvement.

 3   Our Emerging Managers Program is a cohort-based program aimed at least in part on increasing

 4   competencies in the knowledge, skills, and abilities of emerging Black, Indigenous, and People of
 5
     Color staff. We have developed an equitable compensation philosophy to address generations of
 6
     systematic race- and gender-based discrimination which have resulted in significant pay disparities
 7
     for women and people of color. We have expanded our recruitment capacity to diversify our
 8
     candidate pools, increased staff involvement in policy development, and require hiring managers
 9

10   to participate in anti-bias training to support equitable recruitment and selection. Our DEI efforts

11   not only increase retention and satisfaction among existing employees, but they are also critical
12   for us to meet our goals articulated the nationally adopted “Ending the Epidemic” plan. The
13
     “Ending the Epidemic” plan recognizes that race, gender, gender expression, and sexual
14
     orientation play key roles in the continued prevalence of HIV in the United States.
15
            19.      To reach these highly impacted communities, our workforce should reflect and
16

17   serve the specific needs of the identities and cultures of those communities. Indeed, the lived

18   experiences of our staff are often what bring them to this work and give them the expertise and

19   perspective needed to serve our communities effectively. Their firsthand understanding of cultural
20   contexts, community needs, and systemic barriers enables them to build trust and provide
21
     culturally competent care in ways that cannot be replicated through training alone. When clients
22
     see themselves reflected in our staff, they are more likely to engage in services, stay in care, and
23
     achieve better health outcomes. This is particularly crucial for our Black, Latin American, and
24

25   transgender communities who have historically experienced discrimination and barriers in

26

27

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     healthcare settings. The Executive Orders threaten our ability to maintain this vital connection
 1

 2   between lived experience and service delivery.

 3          20.      According to recent data while Black people represent only 12% of the U.S.

 4   population, they account for 39% of new HIV diagnoses, 40% of all people living with HIV, and
 5
     43% of deaths among people with HIV. Similarly, Latin Americans face three times the HIV
 6
     infection rates as whites. Hispanic individuals and Latin Americans accounted for 32% of new
 7
     HIV diagnoses in the United States, although they represented 19 % of the population. Moreover,
 8
     we know that recent immigrants are even more disproportionately affected by HIV and have more
 9

10   barriers when accessing HIV testing, prevention, and treatment services.

11          21.      Similarly, studies show that transgender women have a much higher HIV
12   prevalence compared to the general population, with some estimates indicating that they are 66
13
     times more likely to have HIV. Transgender men experience elevated risk compared to the general
14
     population, with some studies suggesting they are almost seven times more likely to have HIV
15
     than the general population. Trans people of color fare even worse with nearly one-half of Black
16

17   transgender women living with HIV. Transgender people face significant barriers to healthcare,

18   including fear of discrimination and denial of treatment due to their gender identity or expression.

19   These barriers can lead to lower rates of HIV testing and retention in care. As a result, we have
20   created many programs that specifically address the needs of these populations.
21
            22.      The Elizabeth Taylor 50-Plus Network creates vital community connections for gay,
22
     bisexual, and trans men over 50, honoring both HIV-negative individuals and long-term survivors
23
     who have lived through the AIDS epidemic. Through social activities, support groups, and
24

25   volunteer opportunities, the program addresses isolation and builds meaningful relationships

26   among members who share similar lived experiences. Rather than viewing aging LGBT adults

27

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     through a lens of deficit, the program celebrates their resilience and wisdom while fostering mutual
 1

 2   support. This approach creates renewed hope and vitality through authentic connection with peers

 3   who understand each other's journeys.

 4          23.      Our Black Brothers Esteem (BBE) program offers psychosocial support
 5
     specifically for African American men who have sex with men, addressing intersectional
 6
     challenges including HIV, hepatitis C, racism, substance use, poverty, homophobia, violence, and
 7
     housing instability. Restrictions on DEI programs would force us to scale back these proven
 8
     successful programs that reach communities with the highest HIV burden.
 9

10          24.      We created our Black Health Clinical Assistant Internship Program because we

11   recognize that lived experience is as valuable as formal education in providing effective
12   community health services. Through this program, we create career pathways for individuals from
13
     the communities we serve, helping to build a more representative healthcare workforce.
14
            25.      Our Programa Latino offers comprehensive services in Spanish, regardless of
15
     immigration status, providing a family-like environment for Latin American individuals and their
16

17   families through El Grupo de Apoyo Latino. We train Promotores de Salud to ensure culturally

18   competent care reaches our Spanish-speaking communities.           These executive orders would

19   severely limit our ability to maintain these specialized programs that address the specific cultural,
20   linguistic, and social contexts that impact HIV risk and care access in communities of color.
21
            26.      Through TransLife and our trans-inclusive healthcare programs, we serve
22
     transgender women, transgender men, and non-binary individuals with group support, events, and
23
     gender-affirming care. We recognize the disproportionate impact of HIV on trans communities,
24

25   particularly trans women. Restrictions on gender-affirming services would significantly impair

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     our ability to provide the comprehensive, integrated care that makes our services accessible and
 1

 2   effective for transgender and gender non-binary people who face disproportionate HIV rates.

 3           27.      Additional TGNB programing includes “Beyond the Binary” (a monthly

 4   community engagement program for intersex and non-binary individuals of all ages to gather and
 5
     build community) and “Trans Substance Use Support Group” (a drop-in harm reduction group for
 6
     transgender, nonbinary and gender expansive individual struggling with substance use).
 7
             28.      Our sexual health clinic, Magnet, in addition to comprehensive sexual health
 8
     services also provides gender affirming care services for TBNG individuals at no cost. Services
 9

10   include prescribing and providing gender-affirming hormones to address the spectrum of trans and

11   non-binary needs, hormone level checks to assist individuals to safely reach their transition goals
12   in a medically safe and research backed manner, and hormone injection assistance services where
13
     a healthcare provider can administer hormone injections and provide self-injection education and
14
     training.
15
             29.      Magnet Sexual Health Clinic plays a crucial role in ending the HIV/STI epidemics
16

17   by eliminating traditional barriers to care through our comprehensive, client-centered approach.

18   Our impact is evident in the numbers: in 2024 alone, we provided 11,733 HIV tests, 2,482 HCV

19   tests, and 72,637 STI tests, while supporting 740 new clients in starting PrEP and maintaining a
20   total of 3,012 PrEP clients. By offering testing, treatment, PrEP services, linkage to care, and
21
     insurance navigation under one roof, we create a seamless care experience that meets clients where
22
     they are. Our culturally responsive model recognizes that healthcare access has historically
23
     excluded transgender, non-binary, and BIPOC communities, so we intentionally center their needs
24

25   and experiences in our service delivery. Through immediate access to testing and treatment, same-

26   day PrEP initiation, and wraparound support services, we remove the administrative and social

27

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     obstacles that often prevent people from accessing sexual health care. This integrated approach
 1

 2   not only facilitates better health outcomes but also builds trust with communities that have faced

 3   discrimination in traditional healthcare settings. The success of our model demonstrates that when

 4   we combine clinical excellence with cultural humility and eliminate barriers to access, we create
 5
     an environment where everyone can take control of their sexual health and contribute to ending
 6
     the epidemics.
 7
            30.       The Stonewall Project exemplifies our commitment to meeting people where they
 8
     are through state-certified, harm reduction-based substance use treatment and counseling, which
 9

10   includes specialized groups tailored to meet the unique needs of our diverse communities. We also

11   provide dedicated groups for transgender and gender non-binary individuals; Black, Indigenous,
12   and People of Color individuals, and others ensuring that traditionally marginalized communities
13
     can access care in affirming environments that understand their specific experiences and
14
     challenges with substance use. Through core services like substance use treatment, individual
15
     counseling, virtual walk-in support, and medication-assisted treatment options like Suboxone,
16

17   combined with these culturally-specific support groups, we create multiple pathways for

18   engagement and healing that honor each person's identity and background. This person-centered

19   model acknowledges that recovery looks different for everyone and that sustainable change comes
20   from empowering individuals to define and pursue their own wellness goals within spaces that
21
     celebrate and affirm their whole selves.
22
            31.       The success of our programs depends on our ability to recruit and retain staff who
23
     reflect the communities we serve—an essential factor in delivering effective, culturally humble
24

25   care. These executive orders would directly hinder our capacity to build and sustain a workforce

26   that understands and relates to our clients' lived experiences. The consequences would be

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     devastating––reduced access to HIV prevention and care in communities already facing the highest
 1

 2   barriers, increased mistrust in healthcare systems, higher rates of late HIV diagnosis, and lower

 3   rates of viral suppression.    Decades of public health research confirm that one-size-fits-all

 4   approaches to HIV prevention and care fail to meet the needs of communities most impacted by
 5
     HIV.
 6
             32.      As an organization dedicated to health justice, we must continue advocating for
 7
     evidence-based strategies that prioritize those most affected by the epidemic. We achieve this by
 8
     providing integrated and targeted sexual health and substance use services that meet people where
 9

10   they are, engaging in advocacy to dismantle systemic barriers and inequities, and strengthening

11   community partnerships to create networks of support. Our commitment to racial justice and
12   health equity is embedded in every aspect of our work—from program design to service delivery
13
     to organizational culture. We recognize that the communities we serve are not separate but deeply
14
     interconnected, shaped by overlapping identities and experiences.
15
             33.      Targeted services for minority and transgender communities are essential for
16

17   effective HIV treatment and prevention because these populations experience disproportionate

18   rates of HIV due to systemic barriers. Decades of epidemiological research consistently

19   demonstrate that tailored outreach, testing, and prevention services are more successful in reaching
20   these communities, improving health outcomes, and reducing transmission rates. The Centers for
21
     Disease Control and Prevention (CDC) and other public health authorities have long recognized
22
     that interventions designed specifically for populations at higher risk are critical to ending the HIV
23
     epidemic. In line with this evidence, government contracts funding HIV outreach and care
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25   programs include requirements to target these communities, ensuring resources are directed where

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     they are most needed and have the greatest public health impact. This approach is not only
 1

 2   evidence-based but also essential to fulfilling public health goals and health equity mandates.

 3          34.      These executive orders are an existential threat to our mission. They are not just

 4   administrative obstacles—they threaten to dismantle decades of progress in building trust with the
 5
     communities most impacted by HIV. By restricting our ability to provide targeted and culturally
 6
     responsive care and maintain a workforce that reflects our clients, these policies would
 7
     fundamentally alter our ability to fulfill our mission. If we are forced to eliminate specialized
 8
     programs for communities of color and transgender individuals or cannot retain staff who represent
 9

10   these communities, we will lose the very elements that make our services effective. This is

11   particularly alarming because these orders target Black and Latin American individuals,
12   transgender people, and other marginalized groups—the same populations facing the highest rates
13
     of HIV and the greatest barriers to care. Without the ability to address these disparities explicitly,
14
     we risk reversing decades of progress and watching HIV rates rise among those we have fought
15
     hardest to serve.
16

17          35.      These executive orders directly threaten SFAF’s mission by undermining our

18   ability to provide targeted, identity-centered, intersectional care. They jeopardize critical funding,

19   force programmatic changes, and create new legal and bureaucratic barriers to the services we
20   have long tailored to LGBT communities of color. We cannot afford to stand by as policies attempt
21
     to dismantle the very foundation of our work. The stakes are too high, and the lives of those we
22
     serve depend on our ability to push back against these harmful policies.
23
            36.      The vagueness and incomprehensibility of the Executive Orders only deepen their
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25   harmful impact. Without clear guidelines, organizations like SFAF are left navigating uncertain

26   terrain, making it difficult to comply while maintaining effective, affirming services. This

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     confusion breeds distrust in public health initiatives, particularly among communities that already
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 2   face healthcare discrimination—including Black, Indigenous, and People of Color; transgender

 3   and nonbinary individuals; and men who have sex with men. If people fear that care will no longer

 4   be inclusive, they may disengage from HIV services altogether, threatening the progress made in
 5
     reducing health disparities.
 6
               37.      Racial justice is at the core of SFAF’s mission, especially in our work with Black
 7
     and Latin American gay, bisexual, and transgender communities. Yet, the vague and restrictive
 8
     language of these Executive Orders risks forcing self-censorship and program restructuring to
 9

10   avoid punitive action. This not only compromises our ability to address racial disparities in HIV

11   care but also diverts critical resources from direct services to legal defense, compliance, and policy
12   revisions. Programs like Black Brothers Esteem, Healing and Uniting Every Sista, and our Latin
13
     American outreach initiatives could face defunding or forced restructuring, weakening the very
14
     infrastructure designed to support the most vulnerable.
15
               38.      The Gender Order is particularly egregious in its attempt to erase transgender and
16

17   gender nonbinary individuals from public life. Denying the existence of transgender and gender

18   nonbinary individuals under the guise of political expediency is not just an attack on gender-

19   affirming care is a fundamental violation of human dignity. This kind of erasure causes deep,
20   lasting harm, forcing individuals to navigate a world that refuses to recognize them as their true
21
     selves.
22
               39.      Similarly, the DEI-1 Order and DEI-2 Order aims to dismantle efforts to address
23
     systemic racism and historical injustice. By reducing or eliminating DEI programs, these orders
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25   do not merely restrict policy—they actively seek to erase the historical and ongoing inequities

26   faced by marginalized communities. Rather than acknowledging the need for corrective measures

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     to address centuries of discrimination, they attempt to whitewash the past, denying the very
 1

 2   realities that demand urgent action. This calculated erasure of history and lived experience aligns

 3   with regressive ideologies that resist equity and reinforce existing power structures, ensuring that

 4   injustice continues under the pretense of neutrality.
 5
            40.      At its core, this is not just a matter of policy—it is a battle over truth. By attempting
 6
     to erase communities and their histories, these Executive Orders do not just undermine public
 7
     health; they perpetuate the very inequalities they claim to ignore.
 8
            41.      In concrete terms, the impact of these callous and uncaring efforts extends far
 9

10   beyond mere administrative changes, they threaten to disrupt life-saving services for thousands of

11   community members who rely on our culturally-specific programs.                  Last year alone, our
12   community specific services for Black, Indigenous, and People of Color; transgender and
13
     nonbinary individuals; and men who have sex with men, female identified, and individuals over
14
     50 served at total of 1,068 people. Our Substance Use Disorder and Mental Health programs
15
     through the Stonewall project provided more than 12,000 substance use treatment clinical visits.
16

17   Our sexual health and testing clinic, Magnet, provides over 70,000 people with free STI/HIV

18   testing and prevention interventions using culturally responsive and identity affirming

19   methodologies annually. Our harm reduction and syringe access services impact the lives of
20   countless people in the San Francisco Bay Area and save thousands of lives each year through
21
     overdose prevention and reversal services.
22
            42.      Our ability to maintain these specialized targeted programs, which collectively
23
     serve more than 27,000 individuals annually across all our culturally-specific services, hangs in
24

25   the balance. These are not just numbers––they represent real people who have built trust with

26   providers who understand their experiences, who have found community in our spaces, and who

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     rely on our services to maintain their health and wellbeing. If we are forced to dismantle these
 1

 2   population specific programs, thousands of our community members, particularly those facing the

 3   highest barriers to care and greatest health disparities, will lose access to services specifically

 4   designed to meet their needs.
 5
            43.      The AIDS crisis entered public consciousness in 1981, initially mischaracterized as
 6
     a disease affecting only gay, white men. This false narrative led to stigma, neglect, and the
 7
     exclusion of other heavily impacted communities, including Haitian immigrants, injection drug
 8
     users, and sex workers. Systemic racism, homophobia, transphobia, and misogyny exacerbated the
 9

10   crisis, particularly for Black and Latine people, transgender women, and women more broadly.

11   Government apathy persisted for years, with President Reagan failing to even mention AIDS until
12   1985 and only addressing it in earnest in 1987.
13
            44.      In response to the silence and inaction, activists formed ACT UP in 1987, rallying
14
     around the battle cry "Silence = Death." Their bold, confrontational protests forced the government
15
     to take action, saving countless lives. Yet, while the movement fought for change, it also failed for
16

17   decades to fully acknowledge and address the epidemic’s disproportionate impact on Black, Latine,

18   and transgender communities—disparities that persist today and demand continued advocacy.

19          45.      Now, history threatens to repeat itself. The Executive Orders restrict federal
20   funding recipients from recognizing transgender identities and racial health inequities, directly
21
     impeding essential HIV prevention and care for transgender people and people of color,
22
     populations disproportionately affected by HIV. By forcing organizations to erase transgender
23
     identities, and ignore systemic racial barriers, the order undermines culturally competent services
24

25   and worsens existing health disparities.

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                46.      HIV advocates are once again being told to stay silent, forced into an impossible
 1

 2   choice: speak the truth about systemic inequities and risk losing federal funding or comply with

 3   harmful restrictions that undermine life-saving services. But as the movement learned decades ago,

 4   silence equals death. The fight against HIV has always been a fight against discrimination, and
 5
     advocates refuse to be silenced by government-imposed restrictions. The mission is not up for
 6
     debate. The movement will not compromise its values.
 7
                47.      We will not be silenced by our own government when silence equals death.
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